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                                            #:551




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


JOSE FS SIMOY                                        CASE NUMBER:


                                    PETITIONER(S)                      5:22−cv−02211−KK−BFM

       v.

NANCY T. MCKINNEY


                                 RESPONDENT(S)                   NOTICE OF FILING OF
                                                              MAGISTRATE JUDGE’S REPORT
                                                                AND RECOMMENDATION



TO:         All Parties of Record
         You are hereby notified that the Magistrate Judge's Report and Recommendation has
been filed on September 18, 2024 .
          Any party having Objections to the Report and Recommendation and/or order shall,
not later than October 8, 2024 , file and serve a written statement of Objections with points
and authorities in support thereof before the Honorable Magistrate Judge Brianna Fuller
Mircheff . A party may respond to another party’s Objections within 14 days after being
served with a copy of the Objections.

          Failure to object within the time limit specified shall be deemed a consent to any
proposed findings of fact. Upon receipt of Objections and any Response thereto, or upon
expiration of the time for filing Objections or a Response, the case will be submitted to the
District Judge for disposition. Following entry of Judgment and/or Order, all motions or other
matters in the case will be considered and determined by the District Judge.
          The Report and Recommendation of a Magistrate Judge is not a Final Appealable
Order. A Notice of Appeal pursuant to Federal Rules of Appellate Procedure 4(a)(1) should
not be filed until entry of a Judgment and/or Order by the District Judge.



                                                    CLERK, UNITED STATES DISTRICT COURT

Dated: September 18, 2024                           By: /s/ Christianna Howard
                                                       Deputy Clerk
M−51A (12/09)          NOTICE OF FILING OF MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
